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                                                                                          U.S. DISTRICT COURT
                                                                                              N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


EVAN MILLIGAN, et al.,

                Plaintiffs,
                                                          No. 2:21-cv-01530-AMM
                vs.

JOHN H. MERRILL, et al.,

                Defendants.


                         DECLARATION OF BENARD SIMELTON
I, Benard Simelton, declare as follows based on my personal knowledge:

          1.   My name is Benard Simelton and I am the President of the Alabama State

Conference of the NAACP (“Alabama NAACP”). The Alabama NAACP is a Plaintiff in this

matter.

          2.   The Alabama NAACP is a non-profit and non-partisan organization and a state

conference of the National Association for the Advancement of Colored People. The Alabama

NAACP was founded in 1913 and is the oldest civil rights organizations in the State. The

Alabama NAACP works to ensure the political, educational, social, and economic equality of

African Americans, other minorities, and all residents of Alabama. We are committed to the

removal of all discriminatory barriers to the democratic process, and the full enforcement of

federal laws securing the right to vote.

          3.   The Alabama NAACP fulfills its mission by seeking to increase voter registration

and voter turnout, engaging in voter registration and “get-out-the-vote” drives, and publicly

advocating to address the adverse effects of racial discrimination in voting and to seek its

elimination.
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        4.   I have served as the President of the Alabama NAACP since October 2009. During

my time as President, I have overseen the Alabama NAACP’s voter registration, voter education

and voter mobilization efforts.

        5.   As a non-profit organization, the Alabama NAACP raises money from private

donors and membership fees. The Alabama NAACP has two paid staff member but relies

primarily on the assistance of volunteers, such as myself, to meet its goals. As a result, the

Alabama NAACP’s monetary, personnel and time resources are very limited.

        6.   The Alabama NAACP has thousands of members in Jefferson County, the Black

Belt and other counties across the state. Most of the members of the Alabama NAACP are Black

registered voters. The Alabama NAACP’s members include registered voters who reside and

vote in CDs 1, 2, 3, and 7. Robert Clopton is a Black registered voter and President of the Mobile

County NAACP Branch, currently located in CD 1. Bobby Mays is a Black registered voter and

President of the NAACP Elmore County Branch #5026, currently located in CD 2. Alozo Bullie

is a Black registered voter and President of the Macon County Branch NAACP, currently located

in CD 3. Lisa Young is a Black registered voter and President of the Tuscaloosa County NAACP

Branch, currently located in CD7.

        7.   Members of the Alabama NAACP include Black registered voters who I understand

would reside in the illustrative second majority-Black district presented by Plaintiffs in this case.

        8.   The Alabama NAACP proposed a map in October that would provide for two

majority-minority districts prior to the state legislature’s special session to take up the

redistricting issue.

        9.   The state’s redistricting process was rushed and did not allow for adequate input

from the Black community. Members of the NAACP attended reapportionment hearings and
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reported that Black state representatives did not have much time to present their support for the

NAACP’s map. It was as if the Committee members minds were made up before public

discussion took place. The plan proposing a second Black congressional district was rejected

without much debate or attempt to understand the justification for it. It seemed as though

acknowledging the NAACP’s plan and listening to the opposition against HB-1 was a formality,

but not seriously considered.

       10. In the state’s proposed maps, Black voters are packed into CD 7 where they are

overrepresented. With two districts, economic and political interests would be better

represented. Black voters need to have more than one representative from the state of Alabama

to represent their interests in our US Congress.

       11. The Black Belt is a community of interest that should be kept together as much as

possible in redistricting. The Black Belt is a collection of majority-Black counties that runs

through the middle of Alabama. The Black voters in the Black Belt share a rural geography,

concentrated poverty, unequal access to government services, and lack of adequate healthcare.

       12. Medicaid expansion is an economic interest that connects Black voters in the Black

Belt and elsewhere in Alabama. It is estimated that there are over 300,000 total population in

Alabama who do not have health care because Medicaid has not been expanded. Those who do

not have affordable healthcare, are disproportionately African-American. Currently, Terri

Sewell is the only Congressional representative advocating for Medicaid expansion.

       13. Criminal justice reform is another issue that ties Black voters together. African-

Americans are incarcerated more than any other race, based on percentage, and receive harsher

sentences. With additional representation in Congress, Black voters in Alabama could exert

more political pressure on the federal and state governments to develop a fairer criminal justice
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system. Currently, Representative Sewell is the only representative from the state that

understands there is a problem.

       14. Currently, Representative Sewell is the only one representative from the state

giving voice to the issue that the Black Belt and the other Black communities in Alabama need

more economic opportunity and funding.

       15. Moreover, Black Alabamians continue to face higher rates of infection and death

from COVID-19 due to disparities in access to healthcare and other forms of structural

inequality.

       16. None of the representatives, besides Representative Sewell, voted for the John

Lewis Advancement Act of 2021 that would improve voting opportunities for African-

Americans and other minorities.
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